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 1   RICHARD A. MARSHACK
     rmarshack@marshackhays.com
 2   MARSHACK HAYS LLP
     870 Roosevelt
 3   Irvine, California 92620
     Telephone: (949) 333-7777
 4   Facsimile: (949) 333-7778

 5   Chapter 7 Trustee

 6

 7

 8                                  UNITED STATES BANKRUPTCY COURT

 9                     CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

10   In re                                                    Case No. 8:18-bk-10969-SC
11   LUMINANCE RECOVERY CENTER, LLC                           Chapter 7
     A California limited liability company, et al.,
12                                                            TRUSTEE’S MOTION FOR ORDER
                                                              ABANDONING THE ESTATE’S
13                                  Debtors,                  INTEREST, IF ANY, IN BOOKS AND
                                                              RECORDS, AUTHORIZING
14   Affects:                                                 DESTRUCTION AND PAYMENT OF
                                                              STORAGE AND DESTRUCTION FEES;
15   ☒       ALL DEBTORS                                      DECLARATION OF RICHARD A.
                                                              MARSHACK IN SUPPORT
16   ☐       Luminance Recovery Center, LLC, ONLY
                                                              [NO HEARING REQUIRED]
17   ☐ Luminance Health Group, Inc., a California
     corporation, ONLY
18

19

20   TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY JUDGE,
21   THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED PARTIES:
22              Richard A. Marshack, in his capacity as Chapter 7 Trustee (“Trustee”) of the jointly
23   administered Bankruptcy Estates (“Estates”) of Luminance Recovery Center, LLC (“LRC”) and
24   Luminance Health Group, Inc. (“LHC,” and collectively with LRC, “Debtors”), moves the Court for
25   an Order authorizing the abandonment of the Estate’s interest, if any, in certain books and records,
26   authorizing destruction of the records, and authorizing payment of storage and destruction fees (the
27   “Motion”).
28
                                                          1
                         MOTION FOR ORDER AUTHORIZING ABANDONMENT OF BOOKS / RECORDS
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 1       1. Background Information
 2              The Debtors were founded by Mr. Michael Castanon in 2015 (“Mr. Castanon”). Pre-petition,

 3   the Debtors operated as a substance abuse and recovery center, including, but not limited to

 4   providing patients detoxification, residential treatment, and extended care services. Debtors appear

 5   to have ceased business operations in March 2018.

 6              On March 21, 2018, the Debtors filed two separate voluntary petitions under Chapter 11 of

 7   Title 11 of the United States Code (“Petition Date”).

 8              On March 22, 2018, as Dk. No. 8, the Court entered an order granting Debtors’ motion to

 9   approve the joint administration of the bankruptcy estates.

10              On April 3, 2018, as Dk. No. 49, the Debtors filed an emergency motion to convert the cases

11   from a Chapter 11 to Chapter 7 (“Conversion Motion”). On April 5, 2018, as Dk. No. 59, the Court

12   entered an order granting the Conversion Motion. Shortly thereafter, the Office of the United States

13   Trustee appointed Richard A. Marshack as the Chapter 7 trustee.

14       2. The Books and Records
15              A. Hardcopy Records
16              Upon his appointment, Trustee took possession of 50 boxes of books and records (the
17   “Hardcopy Records”) which were being stored at Debtor’s premises. Trustee’s agent prepared an
18   inventory of the Hardcopy Records – including, but not limited to, certain corporate documents,
19   accounts payable records, old client files, and health department documents. A true and correct copy
20   of the Hardcopy Records inventory is attached to the Declaration of Richard A. Marshack
21   (“Marshack Declaration”) as Exhibit “1.”
22              The Hardcopy Records are currently being stored at O’Neil Storage. Trustee obtained a quote
23   for destruction of the Hardcopy Records in the amount of $6.50 per box plus a nominal administrative
24   fee. Through this Motion, Trustee requests authority to abandon and shred the Hardcopy Records and
25   pay O’Neil up to $350.00.
26

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                                                         2
                         MOTION FOR ORDER AUTHORIZING ABANDONMENT OF BOOKS / RECORDS
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 1              B. Electronic Records
 2              Certain electronic records (the “Electronic Records,” and collectively with the Hardcopy

 3   Records, the “Records”) were previously maintained pre-petition by Debtor and stored in Office

 4   365, a cloud system providing file storage, email, and work productivity applications. Debtor also

 5   maintained digital copies of files in Amazon S3, another cloud storage provider (the “Cloud Storage

 6   Accounts”). Trustee maintained these systems to facilitate record-keeping, and support litigation and

 7   discovery demands. No patient records were retained in either of these systems.

 8              On June 14, 2018 as Dk. No. 228, the Court entered an Order granting Trustee’s application

 9   to employ Force Ten Partners LLC (“Force 10”) as Trustee’s field agent and financial advisor. The

10   application provided, among other tasks, that Force 10 secure and maintain a copy of the Debtors’

11   Electronic Records. The monthly charges for the Cloud Storage Accounts were paid by Force 10

12   and, for the period of April 1, 2019, through January 31, 2022, Force 10 is owed approximately

13   $15,600. A true and correct copy of Force 10’s invoice is attached to the Marshack Declaration as

14   Exhibit “2.”

15              Trustee's remaining adversary actions no longer require access to cloud storage and Trustee

16   intends to cancel the Cloud Storage Accounts.

17              Through this Motion, Trustee requests authority to reimburse Force 10 up to $16,000 upon

18   Trustee’s receipt of an updated invoice from Force 10 upon entry of an order granting this Motion.

19       3. Legal Authority
20              A.     Burdensome or of Inconsequential Value and Benefit to the Estate
21              Pursuant to § 554(a) of the Bankruptcy Code, a trustee may abandon property of the estate as

22   follows:

23                     After notice and a hearing, the trustee may abandon any property of the estate
                       that is burdensome to the estate or that is of inconsequential value and benefit
24                     to the estate.

25              Trustee has completed administration of the Estate and, other than waiting for the final

26   settlement payment to be received, the case is ready to close. As such, neither Trustee nor his

27   employed professionals need the Hardcopy Records or the Electronic Records of the Debtor.

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                         MOTION FOR ORDER AUTHORIZING ABANDONMENT OF BOOKS / RECORDS
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 1              Therefore, Trustee believes it is in the best interest of the Estate to abandon the Estate’s

 2   interest, if any, in the Records.

 3              B.     Order of Abandonment
 4              Pursuant to Bankruptcy Code § 554(a), abandonment requires a court order after notice and a

 5   hearing. Sections 554(a) and (b) of the Code require that creditors be given notice and an

 6   opportunity for hearing before abandonment can be given effect.

 7              Here, the Trustee will notice his intent to abandon the Estate’s interest in the Records to all

 8   creditors of the Estate. Based on the fact that proper notice will have been given and the fact that the

 9   Records are no longer of value and benefit to the Estate, the Trustee respectfully requests that an

10   order be entered allowing the abandonment of the Records.

11       4. Conclusion
12              Based on all of the above, the Trustee respectfully requests this Court enter an order
13   authorizing Trustee to:
14              A. Abandon the Estate’s interest, if any, in the Records;
15              B. Destroy the Hardcopy Records;
16              C. Pay destruction fees up to $350;
17              D. Pay Force 10 up to $16,000 for the monthly Cloud Storage Account fees;
18              E. Cancel the Cloud Storage Accounts; and
19              F. For such other and further relief as the Court deems just.
20   Dated: December 27, 2021                      Respectfully submitted,
21
                                                   _ /s/ Richard A. Marshack ________________
22                                                     RICHARD A. MARSHACK
                                                       Chapter 7 Trustee
23

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                          MOTION FOR ORDER AUTHORIZING ABANDONMENT OF BOOKS / RECORDS
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 1                                 Declaration of Richard A. Marshack
 2

 3              I, RICHARD A. MARSHACK, declare and state:

 4              1.     I am the duly appointed Chapter 7 Trustee of the jointly administered Bankruptcy

 5   Estates (“Estates”) of Luminance Recovery Center, LLC (“LRC”) and Luminance Health Group,

 6   Inc. (“LHC,” and collectively with LRC, “Debtors”). The matters stated herein are within my own

 7   knowledge or information and, if called upon to testify, I could and would competently testify

 8   thereto.

 9              2.     I make this declaration in support of the Motion for Order Abandoning the Estate’s

10   Interest, if any, in Certain Records and Pay Storage and Destruction Fees (the “Motion”).

11              3.     Upon my appointment, I took possession of 50 boxes of books and records (the

12   “Hardcopy Records”) which were being stored at Debtor’s premises. My agent prepared an

13   inventory of the Hardcopy Records – including, but not limited to, certain corporate documents,

14   accounts payable records, old client files, and health department documents. A true and correct copy

15   of the Hardcopy Records inventory is attached hereto as Exhibit “1.”

16              4. The Hardcopy Records are currently being stored at O’Neil Storage. I obtained a quote

17   for destruction of the Hardcopy Records in the amount of $6.50 per box plus a nominal

18   administrative fee. Through this Motion, I request authority to abandon and shred the Hardcopy

19   Records and pay O’Neil up to $350.00.

20              5. I was further advised that certain electronic records were maintained pre-petition by

21   Debtor and stored in Office 365, a cloud system providing file storage, email, and work productivity

22   applications (the “Electronic Records,” and collectively with the Hardcopy Records, the “Records”).

23   The digital copies of files were maintained in Amazon S3, another cloud storage provider (the

24   “Cloud Storage Accounts”). I maintained these systems to facilitate record-keeping, and support

25   litigation and discovery demands. No patient records were retained in either of these systems.

26              6. On June 14, 2018 as Dk. No. 228, the Court entered an Order granting my application to

27   employ Force Ten Partners LLC (“Force 10”) as Trustee’s field agent and financial advisor. The

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                                                          5
                         MOTION FOR ORDER AUTHORIZING ABANDONMENT OF BOOKS / RECORDS
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 1   application provided, among other tasks, that Force 10 secure and maintain a copy of the Debtors’

 2   accounting books and records. The monthly charges for the Cloud Storage Accounts were paid by

 3   Force 10 and, for the period of April 1, 2019 through January 31, 2022, Force 10 is owed

 4   approximately $15,600. A true and correct copy of Force 10’s invoice is attached hereto as Exhibit

 5   “2.”

 6              7. The remaining adversary actions no longer require access to the Electronic Records and I

 7   intend to cancel the Cloud Storage Accounts.

 8              8.     Through this Motion, I request authority to abandon the Electronic Records, cancel

 9   the Cloud Storage Accounts, and reimburse Force 10 up to $16,000 upon receipt of an updated

10   invoice from Force 10.

11              9.     Case administration is complete and, other than waiting for the final settlement

12   payment to be received, the case is ready to close. As such, neither I nor my employed professionals

13   need the Hardcopy Records or the Electronic Records of the Debtor.

14

15

16              I declare that the foregoing is true and correct under the penalty of perjury. Executed

17   December 28, 2021.

18                                                      /s/ Richard A. Marshack___________
19                                                    RICHARD A. MARSHACK

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                         MOTION FOR ORDER AUTHORIZING ABANDONMENT OF BOOKS / RECORDS
     5000-400
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                                                           EXHIBIT 1
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                                                           EXHIBIT 2
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                                                                                             INVOICE
                                                                                     From    Force 10 Partners
                                                                                             5271 California Ave
                                                                                             Suite 270
                                                                                             Irvine, CA 92617
                                                                                             (949) 357-2360
                                                                                             www.force10partners.com




Invoice For       Luminance Health Group                                        Invoice ID   2522

                                                                              Invoice Date   10/31/2021

                                                                                 Due Date    10/31/2021 (upon receipt)



Subject           Reimbursable Expenses - April 2019 - October 2021




Item Type         Description                                                                             Rate              Amount


Expense           Reimbursable expenses for the period April 2019 - October                      $14,442.94              $14,442.94
                  2021. See following pages for details.


                                                                                             Amount Due             $14,442.94




Notes

Please contact Force 10 for electronic payment information.
EIN# XX-XXXXXXX




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Luminance Health Group
Reimbursable Expense Detail


Date         Category                    Description                                                Amount     First name Last name
PAID EXPENSES
4/27/2018    Office Supplies             Storage Boxes & Rubber Bands                                 51.68         Ellen   Sprague
5/1/2018     Information Technology      10 32GB USB drive from Microcenter                           89.09          Erik    Nathan
                                         Reimburse to EN.
5/5/2018        Other                    Locksmith expense to pick lock on lock box that contains     10.00         Ellen   Sprague
                                         vehicle keys.
5/28/2018       Office Supplies          Storage Boxes and packing tape                                61.40        Ellen   Sprague
5/30/2018       Meals                    Lunch with Yoel Posner. Discuss A/R management.               63.64       Adam      Meislik
10/31/2018      Software                 MBOX to PST converter for D&O.                                79.00         Erik    Nathan
10/31/2018      Information Technology   Amazon Web Services cost - August 2018                       352.86        Ellen   Sprague
10/31/2018      Information Technology   Amazon Web Services cost - September 2018                    229.05        Ellen   Sprague
11/9/2018       Information Technology   Ordered drive to ship files. PAID by F10.                     53.86         Erik    Nathan
11/30/2018      Information Technology   Amazon Web Services Cost - October                           149.19        Ellen   Sprague
11/30/2018      Information Technology   Amazon Web Services (AWS) November 2018                       80.60        Ellen   Sprague
12/31/2018      Information Technology   Amazon Web Services (AWS) December 2018                       83.46        Ellen   Sprague
1/31/2019       Information Technology   Amazon Web Services (AWS) January 2019                       404.59        Ellen   Sprague
3/5/2019        Information Technology   Amazon Web Service monthly charge - February 2019            648.21        Ellen   Sprague
3/31/2019       Information Technology   Google GSuite monthly expense - October 2018                 140.00        Ellen   Sprague
3/31/2019       Information Technology   Google GSuite monthly expense - November 2018                140.00        Ellen   Sprague
3/31/2019       Information Technology   Google GSuite monthly expense - December 2018                140.00        Ellen   Sprague
3/31/2019       Information Technology   Google GSuite monthly expense - January 2019                 140.00        Ellen   Sprague
3/31/2019       Information Technology   Google GSuite monthly expense - February 2019                140.00        Ellen   Sprague
3/31/2019       Information Technology   Google GSuite monthly expense - March 2019                   140.00        Ellen   Sprague
                                         Total through March 31, 2019 - paid May 10 ,2019           3,196.63

OUTSTANDING EXPENSES
4/1/2019    Information Technology       Amazon Web Service monthly charge - March 2019               648.17        Ellen   Sprague
4/30/2019   Other                        PACER charges - Q1 2019                                        2.70        Ellen   Sprague
5/1/2019    Information Technology       Amazon Web Service monthly charge - April 2019               648.18        Ellen   Sprague
6/1/2019    Information Technology       GSuite charge - April 2019                                   140.00        Ellen   Sprague
6/1/2019    Information Technology       GSuite charge - May 2019                                     167.06        Ellen   Sprague
6/1/2019    Information Technology       GSuite charge - June 2019                                    168.00        Ellen   Sprague
6/4/2019    Information Technology       Amazon Web Services - May 2019                               634.74        Ellen   Sprague
7/1/2019    Information Technology       GSuite charge - July 2019                                    168.00        Ellen   Sprague
7/5/2019    Information Technology       Amazon Web Services - June 2019                              239.92        Ellen   Sprague
8/1/2019    Information Technology       GSuite charge - August 2019                                  168.00        Ellen   Sprague
9/1/2019    Information Technology       GSuite - September 2019                                      168.00        Ellen   Sprague
10/3/2019   Information Technology       GSuite - October 2019                                        168.00        Ellen   Sprague
11/4/2019   Information Technology       Google G Suite                                               168.00        Ellen   Sprague
12/4/2019   Information Technology       Google G Suite - December                                    168.00        Ellen   Sprague
1/6/2020    Information Technology       Google G Suite expense - January 2020                        168.00        Ellen   Sprague
2/7/2020    Information Technology       G Suite monthly charge                                       168.00        Ellen   Sprague
3/4/2020    Information Technology       GSuite monthly fee                                           168.00        Ellen   Sprague
4/3/2020    Information Technology       Monthly G Suite - April 2020                                 168.00        Ellen   Sprague
5/4/2020    Information Technology       Monthly G Suite                                              168.00        Ellen   Sprague
5/5/2020    Information Technology       July 2019 - Nov 2019 monthly AWS charge $276.84 each       1,661.49        Ellen   Sprague
                                         month, Dec 2019 - $277.29
6/5/2020        Information Technology   Monthly G Suite                                              168.00        Ellen   Sprague
6/30/2020       Information Technology   AWS Monthly Charge Jan 2020 - Jun 2020 - 276.85 each       1,661.10        Ellen   Sprague
                                         month
7/6/2020        Information Technology   G Suite monthly fee                                         168.00         Ellen   Sprague
7/31/2020       Information Technology   AWS Monthly Charge - July 2020                              234.43         Ellen   Sprague
8/3/2020        Information Technology   Google G Suite                                              168.00         Ellen   Sprague
8/31/2020       Information Technology   AWS Monthly Charge - August 2020                            276.84         Ellen   Sprague
9/3/2020        Information Technology   Monthly Google G Suite                                      168.00         Ellen   Sprague
9/30/2020       Information Technology   AWS Monthly Charge - September 2020                         276.84         Ellen   Sprague
10/5/2020       Information Technology   Monthly Google G Suite                                      168.00         Ellen   Sprague
10/31/2020      Information Technology   AWS Monthly Charge - October 2020                           227.27         Ellen   Sprague
11/4/2020       Information Technology   Monthly Google G Suite charge                               168.00         Ellen   Sprague
11/30/2020      Information Technology   AWS Monthly Charge - November 2020                          226.84         Ellen   Sprague
12/3/2020       Information Technology   Monthly Charge Google G Suite                               168.00         Ellen   Sprague




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Luminance Health Group
Reimbursable Expense Detail


Date            Category                 Description                                        Amount     First name Last name
12/31/2020      Information Technology   AWS Monthly Charge - December 2020                   226.84          Ellen Sprague
1/4/2021        Information Technology   Monthly charge for Google GSuite                     168.00          Ellen Sprague
1/31/2021       Information Technology   AWS Monthly Charge - January 2021                    226.84          Ellen Sprague
2/3/2021        Information Technology   Monthly Google G Suite charge                        168.00          Ellen Sprague
2/28/2021       Information Technology   AWS Monthly Charge - February 2021                   226.84          Ellen Sprague
3/8/2021        Information Technology   Monthly Google GSuite                                168.00          Ellen Sprague
3/31/2021       Information Technology   AWS Monthly Charge - March 2021                      226.84          Ellen Sprague
4/5/2021        Information Technology   Monthly Google GSuite                                168.00          Ellen Sprague
4/30/2021       Information Technology   AWS Monthly Charge - April 2021                      226.84          Ellen Sprague
5/3/2021        Information Technology   Monthly G Suite                                      168.00          Ellen Sprague
5/27/2021       Other                    Printing and binding.                                 30.12         Adam    Meislik
5/31/2021       Information Technology   AWS Monthly Charge - May 2021                        226.84          Ellen Sprague
6/1/2021        Information Technology   AWS monthly charge - June 2021                       226.84          Ellen Sprague
6/4/2021        Information Technology   Monthly G Suite                                      168.00          Ellen Sprague
7/1/2021        Information Technology   AWS monthly charge - July 2021                       226.84          Ellen Sprague
7/6/2021        Information Technology   Monthly G Suite                                      168.00          Ellen Sprague
8/2/2021        Information Technology   Monthly GSuite                                       168.00          Ellen Sprague
8/2/2021        Information Technology   AWS monthly charge - August 2021                     226.84          Ellen Sprague
9/1/2021        Information Technology   AWS monthly charge - September 2021                  226.84          Ellen Sprague
9/3/2021        Information Technology   GSuite monthly charge                                168.00          Ellen Sprague
10/1/2021       Information Technology   AWS monthly charge - October 2021                    226.84          Ellen Sprague
10/4/2021       Information Technology   GSuite monthly charge                                168.00          Ellen Sprague
                                         Total April 2019 - October 2021                   14,442.94




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: TRUSTEE’S MOTION FOR ORDER ABANDONING THE
ESTATE’S INTEREST, IF ANY, IN BOOKS AND RECORDS, AUTHORIZING DESTRUCTION AND PAYMENT OF
STORAGE AND DESTRUCTION FEES; DECLARATION OF RICHARD A. MARSHACK IN SUPPORT will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
December 30, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On , I served the following persons and/or entities at the last known addresses
in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration
that mailing to the judge will be completed no later than 24 hours after the document is filed.

 DEBTOR – MAIL REDIRECTED TO                        DEBTOR – MAIL REDIRECTED TO
 TRUSTEE                                            TRUSTEE
 LUMINANCE HEALTH GROUP, INC.                       LUMINANCE RECOVERY CENTER,
 27131 CALLE ARROYO, STE 1703                       LLC
 SAN JUAN CAPISTRANO, CA                            27131 CALLE ARROYO, STE 1703
 92675-2700                                         SAN JUAN CAPISTRANO, CA
                                                    92675-2700


                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on , I served the following persons and/or entities by personal delivery, overnight
mail service, or (for those who consented in writing to such service method), by facsimile transmission and/or email as
follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.

PURSUANT TO LBR 5005-2(d) AND COURT MANUAL APPENDIX F SECTION 2.2, NON-HEARING MOTIONS WHEN
THE RESPONSE DEADLINE HAS NOT PASSED WILL NOT BE SERVED UPON THE JUDGE.

                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  December 30, 2021                         Pamela Kraus                                         /s/ Pamela Kraus
  Date                                      Printed Name                                         Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012
                                                                                                    F 9013-3.1.PROOF.SERVICE
4818-2378-6934, v. 1
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Continued:
     ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): Kyra E Andrassy kandrassy@swelawfirm.com,
       lgarrett@swelawfirm.com; gcruz@swelawfirm.com; jchung@swelawfirm.com
     ATTORNEY FOR PLAINTIFF RICHARD A MARSHACK: Ryan W Beall rbeall@lwgfllp.com,
       vrosales@wgllp.com; kadele@wgllp.com
     ATTORNEY FOR DEFENDANT BEACHPOINTE INVESTMENTS, INC.; DEFENDANT GEORGE BAWUAH;
       DEFENDANT JERRY BOLNICK; DEFENDANT JONATHAN BLAU; DEFENDANT JOSEPH BOLNICK;
       DEFENDANT KENNETH MILLER; DEFENDANT PETER VAN PETTEN; DEFENDANT RAYMOND MIDLEY;
       and DEFENDANT VERONICA MARFORI: Evan C Borges eborges@ggtriallaw.com, cwinsten@ggtriallaw.com
     INTERESTED PARTY COURTESY NEF: Christopher Brandlin chris@bbsklaw.com
     ATTORNEY FOR PLAINTIFF AND DEFENDANT SCOTTSDALE INSURANCE COMPANY: Christopher B
       Burch shaurin@baileycav.com
     ATTORNEY FOR INTERESTED PARTY QUI SHIYANG: Luke P Daniels zlukedaniels@yahoo.com
     ATTORNEY FOR DEFENDANT WEST COAST BUSINESS CAPITAL LLC: Michael W Davis mdavis@dto.law,
       jmartinez@dtolaw.com
     ATTORNEY FOR DEFENDANT MARIA CASTANON, MICHAEL E CASTANON and DEFENDANT MICHAEL
       EDWARD CASTANON: Carlos A De La Paz cdelapaz@rostamlaw.com, lmarchica@rostamlaw.com
     INTERESTED PARTY COURTESY NEF: Caroline Djang caroline.djang@bbklaw.com,
       laurie.verstegen@bbklaw.com; wilma.escalante@bbklaw.com
     INTERESTED PARTY COURTESY NEF: Timothy W Evanston tevanston@swelawfirm.com,
       gcruz@swelawfirm.com; lgarrett@swelawfirm.com; jchung@swelawfirm.com
     INTERESTED PARTY COURTESY NEF: Thomas A Fasel thomas@fasellaw.com, taf@fasellaw.com
     ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): M Douglas Flahaut flahaut.douglas@arentfox.com
     ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): Benjamin R Fliegel bfliegel@reedsmith.com
     ATTORNEY FOR INTERESTED PARTY FIRST INSURANCE FUNDING CORP.: Alan W Forsley
       alan.forsley@flpllp.com, awf@fkllawfirm.com, awf@fl-lawyers.net, addy.flores@flpllp.com
     ATTORNEY FOR CREDITOR HONDA LEASE TRUST: Vincent V Frounjian vvf.law@gmail.com
     INTERESTED PARTY COURTESY NEF: Jeffrey K Garfinkle jgarfinkle@buchalter.com, docket@buchalter.com;
       dcyrankowski@buchalter.com
     ATTORNEY FOR DEBTOR LUMINANCE HEALTH GROUP, INC.; DEBTOR LUMINANCE RECOVERY
       CENTER, LLC; PLAINTIFF RICHARD A MARSHACK; and TRUSTEE RICHARD A MARSHACK (TR): Beth
       Gaschen bgaschen@wgllp.com, kadele@wgllp.com; cbmeeker@gmail.com; cyoshonis@wgllp.com;
       lbracken@wgllp.com; bgaschen@ecf.courtdrive.com; gestrada@wgllp.com
     ATTORNEY FOR CREDITOR V&G ASSOCIATES COV INC.: Alastair M Gesmundo
       agesmundo@wghlawyers.com, jmartinez@wghlawyers.com
     INTERESTED PARTY COURTESY NEF: Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;
       goeforecf@gmail.com
     ATTORNEY FOR DEBTOR LUMINANCE HEALTH GROUP, INC.; DEBTOR LUMINANCE RECOVERY
       CENTER, LLC; PLAINTIFF RICHARD A MARSHACK; and TRUSTEE RICHARD A MARSHACK (TR): Jeffrey I
       Golden jgolden@wgllp.com, kadele@ecf.courtdrive.com; cbmeeker@gmail.com; lbracken@wgllp.com;
       gestrada@wgllp.com
     ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): Matthew Grimshaw
       mgrimshaw@marshackhays.com, mgrimshaw@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com
     ATTORNEY FOR UNITED STATES TRUSTEE (SA): Michael J Hauser michael.hauser@usdoj.gov
     ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): D Edward Hays ehays@marshackhays.com,
       ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com;
       cmendoza@ecf.courtdrive.com
     ATTORNEY FOR PLAINTIFF RICHARD A MARSHACK, CH 7 TRUSTEE: Marsha A Houston
       mhouston@reedsmith.com, hvalencia@reedsmith.com
     ATTORNEY FOR CREDITOR WELLS FARGO BANK, N.A. DBA WELLS FARGO AUTO and CREDITOR
       WELLS FARGO BANK, N.A. DBA WELLS FARGO DEALER SERVICES: Sheryl K Ith sith@cookseylaw.com,
       sith@ecf.courtdrive.com
     ATTORNEY FOR DEFENDANTS AMERICAN EXPRESS, AMERICAN EXPRESS COMPANY AND AMERICAN
       EXPRESS NATIONAL BANK: Sweeney Kelly kelly@ksgklaw.com
     ATTORNEY FOR CREDITOR GNR HOLDINGS DBA POWER DIGITAL MARKETING: Gerald P Kennedy
       gerald.kennedy@procopio.com, angela.stevens@procopio.com; calendaring@procopio.com; efile-
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         bank@procopio.com
        ATTORNEY FOR CREDITOR MERCEDES-BENZ FINANCIAL SERVICES USA, LLC DBA DAIMLER TRUST:
         John H Kim jkim@cookseylaw.com, jhkim@ecf.courtdrive.com
        ATTORNEY FOR CREDITOR JPMORGAN CHASE BANK, NATIONAL ASSOCIATION: Nancy L Lee
         bknotice@mccarthyholthus.com, nlee@ecf.courtdrive.com
        ATTORNEY FOR PLAINTIFF RICHARD A MARSHACK: Judith E Marshack jmarshack@marshackhays.com,
         jmarshack@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com
        RICHARD A MARSHACK (TR): Richard A Marshack (TR) pkraus@marshackhays.com,
         rmarshack@iq7technology.com; ecf.alert+Marshack@titlexi.com
        ATTORNEY FOR PLAINTIFF RICHARD A MARSHACK and TRUSTEE RICHARD A MARSHACK (TR): Robert
         S Marticello Rmarticello@swelawfirm.com, gcruz@swelawfirm.com; lgarrett@swelawfirm.com;
         jchung@swelawfirm.com
        ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): Laila Masud lmasud@marshackhays.com,
         lmasud@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com
        ATTORNEY FOR CREDITOR CAB WEST LLC and CREDITOR FORD MOTOR CREDIT COMPANY LLC:
         Randall P Mroczynski randym@cookseylaw.com
        ATTORNEY FOR PLAINTIFF RICHARD A MARSHACK and TRUSTEE RICHARD A MARSHACK (TR): Sharon
         Oh-Kubisch sokubisch@swelawfirm.com, gcruz@swelawfirm.com; 1garrett@swelawfirm.com;
         jchung@swelawfirm.com
        ATTORNEY FOR DEFENDANT KROHN CONSTRUCTION: Reed H Olmstead reed@olmstead.law,
         olmstead.ecf@gmail.com; r41602@notify.bestcase.com
        ATTORNEY FOR CREDITOR ESTRELLA LAND COMPANY LLC and CREDITOR SAN JUAN CAPISTRANO
         SELF STORAGE, A CALIFORNIA LIMITED PARTNERSHIP, DBA POUCH SELF STORAGE CENTERS: R
         Gibson Pagter, Jr. gibson@ppilawyers.com, ecf@ppilawyers.com; pagterrr51779@notify.bestcase.com
        ATTORNEY FOR CREDITOR ALLEON CAPITAL PARTNERS, LLC: Valerie Bantner Peo
         vbantnerpeo@buchalter.com
        ATTORNEY FOR PLAINTIFF RICHARD A MARSHACK: Faye C Rasch frasch@wgllp.com, kadele@wgllp.com;
         lbracken@wgllp.com; gestrada@wgllp.com
        ATTORNEY FOR PLAINTIFF RICHARD A MARSHACK, CH 7 TRUSTEE, TRUSTEE RICHARD A MARSHACK
         (TR); and SPECIAL COUNSEL REED SMITH LLP: Christopher O Rivas crivas@reedsmith.com, chris-rivas-
         8658@ecf.pacerpro.com
        ATTORNEY FOR PLAINTIFF/DEFENDANT SCOTTSDALE INSURANCE COMPANY: Valerie D Rojas
         vrojas@cozen.com, kuria@cozen.com
        ATTORNEY FOR DEFENDANT QUEEN FUNDING LLC: Gene W Rosen generosen@gmail.com
        ATTORNEY FOR CREDITOR NELSON HARDIMAN, LLP: Rosa A Shirley rshirley@nelsonhardiman.com,
         ksherry@nelsonhardiman.com; lgill@nelsonhardiman.com; rrange@nelsonhardiman.com
        ATTORNEY FOR DEFENDANT 27 DIAMONDS: Andrew Edward Smyth office@smythlo.com
        ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): Annie Y Stoops annie.stoops@arentfox.com,
         yvonne.li@arentfox.com
        UNITED STATES TRUSTEE (SA): United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
        ATTORNEY FOR DEFENDANT MICHAEL EDWARD CASTANON: Rhonda Walker ecf.rkw@gmail.com
        ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): David Wood dwood@marshackhays.com,
         dwood@ecf.courtdrive.com; lbuchananmh@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com




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